        Case 4:21-cv-00104-CDL Document 5 Filed 09/28/21 Page 1 of 1



                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE MIDDLE DISTRICT OF GEORGIA
                            COLUMBUS DIVISION

ROBERT I. CAMPBELL,                 *

      Plaintiff,                    *

vs.                                 *
                                             CASE NO. 4:21-CV-104 (CDL)
CHRISTINE WORMUTH,                  *

      Defendant.                    *


                                O R D E R

      Plaintiff filed this action on June 29, 2021.           More than 90

days have passed, and Plaintiff has not filed a proof of service

showing that Defendant has been served with a copy of the summons

and complaint.     Under Federal Rule of Civil Procedure 4(m), if a

defendant is not served within 90 days after the complaint is filed,

the court, after notice to the plaintiff, must dismiss the action

without prejudice against the defendants or order that service be

made within a specified time. Accordingly, Plaintiff is ordered to

serve Defendant     in accordance with the Federal Rules of Civil

Procedure by October 19, 2021, and to file proof of that service by

October 26, 2021. Failure to do so will result in the dismissal of

Plaintiff’s complaint against Defendant without prejudice.

      IT IS SO ORDERED, this 28th day of September, 2021.

                                        S/Clay D. Land
                                        CLAY D. LAND
                                        U.S. DISTRICT COURT JUDGE
                                        MIDDLE DISTRICT OF GEORGIA
